       Case 4:14-cr-00058-JLH        Document 83       Filed 05/02/16     Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                               NO. 4:14CR00058-02 JLH

ANGELA BARROW                                                                   DEFENDANT

                                          ORDER

      Without objection, Angela Barrow’s motion for return of passport and permission to travel

to Great Britain is GRANTED. Document #82.

      IT IS SO ORDERED this 2nd day of May, 2016.



                                                  _________________________________
                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
